Case 2:10-md-02179-CJB-DPC Document 1429-5 Filed 02/28/11 Page1of1

UNITED STATES DEPARTMENT OF THE INTERIOR
MINERALS MANAGEMENT SERVICE
GULF OF MEXICO REGION

INFORMATION TO LESSEES (ITL) AND OPERATORS OF FEDERAL OIL AND
GAS LEASES ON THE OUTER CONTINENTAL SHELF,
GULF OF MEXICO REGION

As part of the response efforts to the Deepwater Horizon incident, the Federal On-Scene
Coordinator has made the decision to potentially use in-situ burning as one of the
methods to contain the spill located offshore Louisiana.

The possible area for the in-situ burning includes the following blocks in the Mississippi
Canyon Block area:

MC 166, MC 167, MC 168, MC 169, MC 170,
MC 210, MC 211, MC 212, MC 213, MC 214,
MC 254, MC 255, MC 256, MC 257, MC 258,
MC 298, MC 299, MC 300, MC 301, MC 302,
MC 342, MC 343, MC 344, MC 345, MC 346.

This notification is to make OCS operators aware of this activity.

In-situ burning is the controlled burning of oil using a fire resistant boom. The primary
products of in-situ burning of oil are carbon dioxide and water vapor. About 90% to 95%
of the carbon product is released to the atmosphere as carbon dioxide, while particulates
commonly account for only about 5 % to 10% of the original volume burned. In
addition, about half of the particulates are soot, which is responsible for the black
appearance of the smoke plume.

Operators should assess any potential effects to facilities in the affected area and report to
MMS.GOM.ICC@MMS.GOV.

April 28, 2010
Date [original signed]

Lars Herbst
Regional Director
Gulf of Mexico Region

EXHIBIT

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